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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

In re:
                                                 Case No. 12-04100-dd
                                                 Chapter 7
Scott Anthony Rabon, aka Scott A Rabon,          Adv. Pro. No. 12-80226
and Lee Michelle Rabon, aka L. Michelle
Devlin-Rabon,

               Debtors.

Kevin Campbell, Trustee, and CBC
National Bank,

                      Plaintiffs,

         v.                                                          ORDER

Scott A. Rabon and L. Michelle Devlin-
Rabon,

                      Defendants.



         This matter is before the Court on an Amended Application for Settlement and

 Compromise (“Application”) filed by plaintiffs Kevin Campbell (“Trustee”) and CBC National

 Bank (“CBC”) (collectively, “Plaintiffs”) on July 17, 2013. A response to the Application

 (“Response”) was filed by the United States Trustee (“UST”) on July 19, 2013. A hearing was

 held on September 10, 2013.        At the conclusion of the hearing, the Court approved the

 settlement and granted the Application. The Court now makes the following Findings of Fact

 and Conclusions of Law.

                                         FINDINGS OF FACT

 Scott Anthony Rabon and Lee Michelle Rabon (“Debtors”) filed for chapter 7 relief on July 2,

2012. Trustee filed a Notice to Creditors to File Claims on or about August 16, 2012. CBC is
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a creditor of Debtors by virtue of three judgments resulting from deficiencies remaining after

foreclosure sales. CBC filed three proofs of claim in Debtors’ bankruptcy case: (1) Claim 7-1,

in the amount of $143,902.61, filed on August 28, 2012; (2) Claim 9-1, in the amount of

$719,192.79, filed on August 24, 2012; and (3) Claim 10-1, in the amount of $48,392.31, filed

on August 24, 2012.       CBC’s allowed claims filed in Debtors’ bankruptcy case total

$911,487.71.

       CBC commenced an adversary proceeding objecting to Debtors’ discharge pursuant to

11 U.S.C § 727 on October 15, 2012. The Trustee thereafter joined as a co-plaintiff in CBC's

action objecting to Debtors' discharge. The complaint initially included causes of

action in which CBC asserted an objection to the dischargeability of the debt

evidenced by Claim 7-1 pursuant to 11 U.S.C § 523, but the dischargeability causes

of action were later dismissed voluntarily by CBC. The Debtors denied the allegations

contained in the adversary complaint.       However, ultimately the parties reached an

agreement and entered into a settlement agreement on June 21, 2013, under the

following terms:


        1.     Except as provided below, Debtors shall not be entitled to discharge.

        2.     Upon the Debtors' paying to the Trustee the sum of $40,000 in good funds
        (bank wire, certified check, or attorney trust account check) within 120 days from and
        after June 21, 2013, for payment of the Trustee's expenses and commission, allowed
        priority unsecured claims, and allowed non-priority unsecured claims other than and
        excluding CBC's claims, the Debtors shall be entitled to discharge of their debts other
        than their judgment debts to CBC which are the subject of CBC's claims (Claim Nos.
        7-1,9-1, and 10-1); provided, however, that the $40,000 to be paid by the Debtors to
        the Trustee to be so applied by the Trustee may be reduced dollar-for-dollar by the
        amount the unsecured priority claims may be reduced prior to the Debtors' payment
        to the Trustee. The Debtors and the Trustee shall timely review the claims, other
        than CBC's claims, and file their objections so that the Order resolving objections, if
        any, is entered prior to the 120 day deadline for the Debtors' payment to the Trustee.
        3.     Upon the Debtors timely making the above-described payment to the Trustee,

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      the Trustee will release his claims against the Debtors, including but not limited to any
      fraudulent transfer claims, any fraudulent preference claims, claims to vehicles, claims
      to any jet ski, and any claim to Seven Mountain, LLC. Upon the payment by Debtors
      to Trustee being timely made, the Trustee will also release the Debtors' children,
      Travis Rabon and Jaimie Rabon, and Harolds R Us, LLC from any claims by the
      Trustee.

      4.    Debtors have deposited with their attorney and their attorney is holding in escrow
      the sum of $10,000 pending the Court’s approval of the parties’ settlement
      agreement. In the event that the Debtors should default on the payment to the
      Trustee, the Debtors’ attorney shall pay over to the Trustee the $10,000 being held in
      escrow, and the Debtors agree and consent for the court to enter an order denying the
      Debtors discharge.

      5.     Even t h o u g h the Debtors may timely make the payment to the Trustee
      specified above and thereby become entitled to discharge of their debts other their
      debts to CBC, the Debtors have agreed and shall consent to an order providing that the
      Debtors’ debts to CBC, which include three unsecured claims filed by CBC arising out
      of CBC's deficiency judgments against the Debtors, Claim Nos. 7-1,9-1, and 10-1, are
      not discharged and shall not be discharged, that the amounts of CBC' s claims are
      correct, that the claims are allowed as filed, and that the judgments have accrued
      interest since the date of Debtors’ filing this case and shall continue to accrue interest
      according to state law. The Consent Order shall be entered upon approval of this
      agreement by the court. CBC shall file certified copies of the Consent Order in the
      judgment roll files for the judgments upon which CBC's claims are based.

      6.     CBC has and shall have the right to resort to all statutory and common law
      rights, remedies and methods for collection of the judgments; provided, however, that
      CBC shall not resort to or employ such rights and remedies and shall not pursue any
      further collection actions so long as Debtors pay CBC $150,500.00 by timely payments
      to CBC in good funds (bank wire, certified check or attorney trust account check) as
      provided in the following schedule:

           $3,500 on or before December 1, 2013
           $3,500 on or before January 1, 2014
           $3,500 on or before February 1, 2014
           $7,000 on or before May 1, 2014
           $7,000 on or before August 1, 2014
           $7,000 on or before November 1, 2014
           $7,000 on or before February 1, 2015
           $7,000 on or before May 1, 2015
           $7,000 on or before August 1, 2015
           $7,000 on or before November 1, 2015
           $7,000 on or before February 1, 2016
           $7,000 on or before May 1, 2016
           $7,000 on or before August 1, 2016
           $7,000 on or before November 1, 2016

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               $7,000 on or before February 1, 2017
               $7,000 on or before May 1, 2017
               $7,000 on or before August 1, 2017
               $7,000 on or before November 1, 2017
               $7,000 on or before February 1, 2018
               $7,000 on or before May 1 ,2018
               $7,000 on or before August 1, 2018
               $7,000 on or before November 1, 2018
               $7,000 on or before February 1, 2019

         7.    Upon Debtors paying to CBC the $150,500.00 by timely payments in
         accordance with the forgoing schedule, CBC shall satisfy the three judgments in full.

         8.     In the event that Debtors should fail to timely make anyone of the payments
         provided for in the foregoing schedule, CBC shall have the right (a) to file in the
         respective judgment roll files partial satisfactions showing credit for all payments
         theretofore made by Debtors, prorating the payments made in accordance with the
         relative amounts of the three judgments as stated in CBC's three claims, and applying
         the payments so pro-rated first to interest and then to principal, and (b) upon filing
         those partial satisfactions to proceed immediately with all CBC's statutory and
         common law rights and remedies for collection of the judgments.

         9.    The Debtors shall cause their company Rabco, LLC to assign to CBC, a
         judgment creditor of Rabco, all Rabco's rights to the $1,590.81 overage held by the
         Beaufort County Treasurer on the tax sale of The Oaks Mobile Home Park, such
         assignment to be on forms provided by CBC including terms for appropriate limited
         indemnification of CBC by Rabco. Any recovery by CBC pursuant to this
         assignment is in addition to any other payments required by this settlement.

Plaintiffs filed the Application on July 17, 2013,1 seeking the Court’s approval of the terms of

the settlement. The UST filed its Response to the Application on July 19, 2013, arguing that the

proposed settlement “favor[ed] the interests of CBC . . . as opposed to the interests of the entire

creditor body.” UST’s Response, at pg 8.

                                     CONCLUSIONS OF LAW

        Courts are not in agreement regarding whether an action brought pursuant to 11 U.S.C. §

727 can be settled. Some courts considering proposed settlements of section 727 proceedings

find simply that an action under section 727 cannot be settled under any circumstances. Note


1
 The original Application for Settlement and Compromise, docket #47, was filed on the same day as the Amended
Application for Settlement and Compromise, docket #48.

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Buyers, Inc. v. Cooler (In re Cooler), 1999 Bankr. LEXIS 2053, at *4 (Bankr. D.S.C. June 1,

1999).     Other courts have held that section 727 actions “may be settled in exchange for

monetary consideration” or “for the payment of money.” Cooler, 1999 Bankr. LEXIS 2053, at

*4, *5.

          In Note Buyers, Inc. v. Cooler, 1999 Bankr. LEXIS 2053, this Court considered a

proposed settlement of a section 727 action between a judgment creditor and the debtors. The

United States Trustee objected to the proposed settlement.2 Cooler, 1999 Bankr. LEXIS 2053,

at *3, *4. The United States Trustee argued that a section 727 action could not be settled unless

the proceeds of the settlement were paid entirely to the bankruptcy estate, but agreed that all

other terms of the settlement were reasonable. Id. at *5.

          The Court first looked to Fed. R. Bankr. P. 7041, and found that the language of the rule

makes clear that, while notice of the terms of settlement and close scrutiny of the terms of the

settlement are required, a per se rule that section 727 actions cannot be settled is not

appropriate. Id. at *7. The Court next considered general principles relating to the settlement of

disputes, stating, “It is well established that settlement should be encouraged. Rule 1001 of the

Federal Rules of Bankruptcy Procedure provides that the rules ‘shall be construed to secure the

just, speedy and inexpensive determination of every case and proceeding.’” Id. at *8.

          Finally, the Court turned to the proposed settlement before it. The Court noted that the

United States Trustee conceded that the terms of the settlement were reasonable, and also noted

that the parties to the adversary had reviewed the grounds on which the objection to discharge

were based “in great detail” with the chapter 7 trustee, yet the chapter 7 trustee had chosen not

to pursue any objection to discharge for the general benefit of the creditors. Id. at *9, *10. The


2
 Another creditor of the debtors also objected to the settlement, but did not serve its objection on the parties and did
not appear at the hearing on the settlement, so the court overruled its objection.

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Court then looked to various policy considerations supporting the position that section 727

actions should be settled under certain circumstances. Id. at *12-*14. The Court held that

settlements dealing with section 727 causes of action should be closely scrutinized and

concluded:

          For all of these reasons, it appears that the dismissal and settlement in this
          adversary proceeding should be approved. There is no dispute that the amount of
          the settlement is fair and reasonable. There is no evidence of creditor
          overreaching or of the Debtors buying a discharge from hidden assets. The
          Debtors appear to be paying the settlement proceeds from post-petition earnings
          that are not assets of the estate or from the Debtors children; consequently, there
          is no harm to the estate. No creditor or other party in interest, including the
          United States Trustee, has requested that it be substituted for the purpose of
          pursuing the matter to trial. Finally, the facts and circumstances surrounding the
          objection to discharge were reviewed in detail with the Chapter 7 Trustee. In
          considering all the facts and circumstances of the case, it appears that the
          dismissal and settlement should be approved.

          The Court believes it is best to consider such dismissals and settlements on a case
          by case basis, under the circumstances and conditions before the Court, and not
          establish a per se rule prohibiting dismissal unless the estate receives the
          proceeds. However, the Court herein does establish the rule that all dismissals
          and settlements of objections to discharge, including where a § 727 action
          accompanies an action seeking an exception to the dischargeability of a debt
          under § 523, should be noticed to the Chapter 7 Trustee, United States Trustee,
          and all creditors unless otherwise ordered in a particular case. Giving those
          parties a full and adequate opportunity to examine the dismissal and settlement
          assists the Court in giving such matters close scrutiny.

Id. at *14-*16. This Court’s ruling was appealed to the District Court and was affirmed on

appeal.

          Utilizing the approach set forth by this Court, and affirmed by the District Court, in

Cooler, the Court has examined the proposed settlement and finds that it is fair and reasonable

and should be approved. All creditors have received notice of the terms of the settlement, and no

creditors have objected or appeared in this adversary. The Trustee was directly involved in the

settlement negotiations and is advocating for the proposed settlement. The UST stated in its



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Response that the fairness of the settlement agreement should be carefully scrutinized. The

settlement provides that unsecured creditors will receive some money, albeit a small portion of

their claims, and priority creditors are getting paid the full value of their claims. Additionally,

Trustee’s special counsel and general counsel have given up certain of their attorneys’ fees.

       While CBC is receiving treatment different from the other creditors under the terms of

the settlement, CBC would ultimately receive only a small portion of the over $900,000.00 in

total debt it is owed by Debtors, but only if the Debtors actually make the payments proposed by

the terms of settlement.    Moreover, the proposed payment schedule would be by monthly

payments over a period of over five years, which further reduces the value of the payments. The

terms of the settlement also provide that CBC’s debt will not be discharged; however, CBC’s

right to pursue its claims against the Debtors after the bankruptcy may have only limited value.

The Debtors have just completed a chapter 7 bankruptcy case in which the Trustee has

determined that, other than those assets involved in this adversary proceeding; Debtors do not

own any other assets which could be liquidated to satisfy the claims of creditors.

       Much of the focus on the settlement at the hearing on the United States Trustee’s

response to the application for settlement was on the equivalency of the treatment of CBC and

the other creditors. The testimony indicated a rough equivalency in treatment that satisfies this

Court’s concerns over the settlement, especially given the difficulty in weighing the present

value of the streams of payment given the differences in time and the unknown of the future

ability to repay the debts. Additionally, CBC has funded the litigation to date and proffered that

it may not be willing to continue to do so. No other party has indicated a willingness to

undertake the litigation.

       Finally, and significantly, the settlement provides the Debtors with a better opportunity



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for a fresh start than they might be entitled to otherwise. The settlement provides Debtors with

the opportunity to make a limited number of payments to one of their creditors, and upon

completion of the payments, Debtors’ obligation to CBC will be discharged. Additionally, upon

payment of $40,000.00 into the bankruptcy estate, Debtors will receive a discharge of their other

debts. Clearly, this is a better result for Debtors than one of the two possible results had this

adversary been litigated to its conclusion.

       After careful consideration of the settlement the Court finds that the terms of the

settlement are fair and reasonable and that the settlement is in the best interests of the estate.

                                         CONCLUSION

       For the reasons set forth above and based on the specific facts of this case, the Court

approves the settlement. Trustee is hereby authorized to sign any and all documents which may

be necessary to effectuate the settlement, and the parties are hereby authorized to submit for

the Court's consideration any additional orders contemplated by the settlement agreement. The

adversary proceeding is dismissed

       AND IT IS SO ORDERED.
 FILED BY THE COURT
     09/23/2013




                                                       David R. Duncan
                                                       Chief US Bankruptcy Judge
                                                       District of South Carolina


   Entered: 09/23/2013




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